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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                             )
                                                        )
                               Plaintiff,               )
                                                        )
                          v.                            )       No. 1:98-cr-00038-JMS-MJD
                                                        )
  MARK WHITE,                                           ) -03
                                                        )
                               Defendant.               )



  ORDER TO APPOINT INDIANA FEDERAL DEFENDER AND STAY PROCEEDINGS

                                                  I.

         This matter is before the Court on the Defendant’s Motion for Reduction of Sentence. The

  Defendant requests that the Court reduce his sentence pursuant to the First Step Act of 2018.

  Pursuant to General Order, the Office of the Indiana Federal Community Defenders has been

  appointed to represent any defendant previously determined to have been entitled to appointment

  of counsel, or who was previously represented by retained counsel and is presently indigent, to

  determine whether that defendant may qualify to seek reduction of sentence and to present any

  motions or applications for reduction of sentence in accordance with Section 404 of the First Step

  Act of 2018. Accordingly, the Court appoints the Indiana Federal Community Defender’s Office

  to appear for the Defendant for this purpose. The Indiana Federal Defender’s Office shall file an

  appearance within 7 days of the date of this Order.
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                                                 II.

         Pending the Indiana Federal Community Defender’s review and analysis of the

  Defendant’s eligibility for a reduction of sentence pursuant to the First Step Act of 2018, and to

  allow counsel to communicate with the Defendant regarding the attorney-client relationship, this

  matter is stayed. Proceedings will resume, and the stay will be lifted, when the Indiana Federal

  Community Defender files an Amended Motion for Reduction of Sentence on the Defendant’s

  behalf, a Stipulation to Reduction of Sentence is filed, or the Court grants the Indiana Federal

  Community Defender’s motion to withdraw from the Defendant’s case.

         IT IS SO ORDERED.




         Date: 1/15/2020




  Distribution:

  Counsel of Record via CM/ECF

  Office of the Indiana Federal Community Defender

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